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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           (ATLANTA DIVISION)


NECHOL GARTRELL,                           Case No.:

                      Plaintiff,           CERTIFICATE OF INTERESTED
                                           PERSONS AND CORPORATE
v.                                         DISCLOSURE STATEMENT

EQUIFAX INFORMATION
SERVICES, LLC,

                      Defendant.


      Pursuant to Local Rule 3.3, Plaintiff Nechol Gartrell, hereby submits her

Certificate of Interested Parties and Corporate Disclosure Statement:

      1. The undersigned counsel of record for a party to this action certifies that

the following is a full and complete list of all parties in this action, including any

parent corporation and any publicly held corporation that owns 10% or more of the

stock of the party:

      Nechol Gartrell – Plaintiff

      Equifax Information Services, LLC – Defendant

      2. The undersigned further certifies that the following is a full and complete

list of all other persons, associations, firms, partnerships, or corporations having




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either a financial 2 interest in or other interest in which could be substantially

affected by the outcome of this particular case:

      N/A

      3. The undersigned further certifies that the following is a full and complete

list of the persons serving as attorneys for the parties in this proceeding.

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      RESPECTFULLY SUBMITTED this 24th day of July 2023.


                                        /s/ Jenna Dakroub
                                        Jenna Dakroub, GA #385021
                                        CONSUMER ATTORNEYS
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                                        Attorneys for Plaintiff,
                                        Nechol Gartrell




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